Case 1:21-cr-20301-DPG Document 33 Entered on FLSD Docket 08/09/2021 Page 1 of 2



                             UNITED STATES DISTRICT CO URT
                             SOUTHERN DISTRICT O F FLORIDA

                          CA SE NO .21-20301-C R -G A YLE S/TO R R ES


    U N ITED STA TE S O F A M E RICA ,

                         Plaintiff,
    V.

    JESSICA PALACIO ,

                         D efendant.



         O RDER AFFIRM ING AND ADOPTING REPORT O F M AG ISTM TE JUDGE

          THIS CAUSE comesbeforethe Coul'ton DefendantJessicaPalacio'sM otion to Dismiss

   CountOne ofthe Indictment as Time Barred. (ECF No.15j.TheCourtreferred theM otion to

   M agistrate Judge Edwin G. Torres pursuant to 28 U .S.C. j636(b)(1)(B) for a Reportand

   Recommendation.(ECFNo.181.On July 12,2021,JudgeTorresissueda Reportrecommending
  thattheCourtdenytheMotion (the$ûReport'').(ECF No.271.OnJuly26, 2021,D efendantfiled
  timelyobjectionstotheReport.LECFNo.29j.OnAugust6,2021stheUnited Statesrespondedto
  Defendant'sobjections.(ECFNo.324.
          A districtcourtmayaccept,reject,ormodify amagistratejudge'sreportandrecommen-
  dation.28U.S.C.j636(b)(1).Thoseportionsofthereportandrecommendationtowhichobjection
  ismadeareaccorded denovo review,ifthoseobjections(kpinpointthespecificfindingsthatthe
  party disagrees with.''United Statesv Schultz,565F.
                                      .             3d 1353,1360(11thCir.2009).
                                                                              ,seealsoFed.
  R.Civ.P.72(b)(3).Anyportionsofthereportandrecommendationtowhichno specificobjection
  ism adearereviewed only forclearerror. fiberty Am .Ins.G rp ., Inc.v. W estpoint Underwriters,
Case 1:21-cr-20301-DPG Document 33 Entered on FLSD Docket 08/09/2021 Page 2 of 2



  L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001); accord Macort v. Prem, Inc., 208 F. App'x

  781, 784 (11th Cir. 2006).

         After a de nova review of the record, the Court concurs with Judge Torres's findings and

  well-reasoned analysis. Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         (1)     The Report and Recommendation [ECF No. 27] is ADOPTED in FULL;

         (2)     Defendant Jessica Palacio's Motion to Dismiss Count One of the Indictment as

                 Time Barred [ECF No. 15] is DENIED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of August, 2021.




                                               DARRIN P. GAYLES
                                               UNITED STATES DI T




                                                 2
